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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

DON LIPPERT, et al.,                              )
                                                  )
                       Plaintiffs,                )
                                                  )   No. 10-cv-4603
               v.                                 )
                                                  )   Honorable Judge Jorge L. Alonso
JOHN BALDWIN, et al.,                             )
                                                  )
                       Defendants.                )

  DEFENDANTS’ MOTION TO RECONSIDER AND OBJECTION TO PLAINTIFFS’
  REPLY TO DEFENDANT’S RESPONSE TO THE MONITOR’S FOURTH REPORT

       Defendants, J.B. Pritzker, Rob Jeffries and Dr. Steven Bowman, by and through their

attorney, Kwame Raoul, Illinois Attorney General, move pursuant to Federal Rule of Procedure

59(e), asking that this Court reconsider its ruling of November 19, 2021 (Dkt. 1476) allowing

Plaintiffs to file a Reply to Defendant’s Response to the Monitor’s Fourth Report. Defendants

affirmatively object to Plaintiffs’ Reply and state as follows:

       1. On November 17, 2021, Plaintiffs filed their motion seeking leave to file a Reply to

Defendant’s Response to the Monitor’s Fourth Report. (Dkt. #1473).

       2. Plaintiffs’ desire to take unnecessary exception to Defendant’s Response by filing a

Reply is not permitted under the Consent Decree in this case and, for that reason, this Court should

reconsider its ruling allowing the filing of such a Reply.

       3. When a party may respond to the Monitor’s Reports is dictated by the Consent Decree.

           The Decree mandates:

           …Twice yearly, the Monitor will report to the Parties and the Court regarding
           compliance with the Decree. Should either Party choose to respond, they will have
           thirty (30) days to do so. The Monitor’s reports shall include the information necessary
           to evaluate Defendants' compliance or non-compliance with the terms of the Decree.
           The Monitor may file additional reports as necessary to address instances of substantial
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           compliance, partial compliance and non-compliance. The Monitor’s reports will be
           filed initially under seal but will be filed in the public docket thirty (30) days thereafter
           unless either Party shows cause as to why a portion or all of the report should remain
           under seal.

           Decree at 20-21.

The Decree allows the Parties to respond to the Monitor’s Report within 30 days. The Decree does

not permit Plaintiffs’ proposed Reply to Defendants and, for that reason, this Court should not

allow such a Reply. Indeed, Plaintiffs’ do not provide any citation to the Decree granting them

the right to file such a Reply because there is no such authority.

       4. This Court should further reconsider its ruling and deny Plaintiffs request because

allowing Plaintiffs such an opportunity, not grounded in the Decree’s rules, would only encourage

a set of circumstances where there could be endless back and forth between the parties responding

to each other, and not responding to the monitor.

       5. Plaintiffs were required to file their response to the Monitor’s Fourth Report within 30

days after it was provided to them on September 17, 2021. As of this filing, they have not done

so. As such, this Court should deny Plaintiff’s request to file their Reply (Ex. 1 at Dkt. #1473)

because Plaintiffs are not permitted by the Decree to respond to Defendants’ filing at Dkt. #1465.

       WHEREFORE, the Defendants pray this Court reconsider its ruling allowing Plaintiffs to

file their Reply to Defendants’ Response to the Monitor’s Fourth Report.



                                                       Respectfully submitted,

KWAME RAOUL
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                                CERTIFICATE OF SERVICE

       The undersigned certifies that on November 19, 2021, he electronically filed the foregoing

document with the Clerk of the Court for the United States District Court for the Northern District

of Illinois using the CM/ECF system. Participants in the case who are registered CM/ECF users

will be served by the CM/ECF system.

                                                     /s/ Christopher Ryan Fletcher
